                 IN THE UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                           Case No. 1:15-CV-732
 Burke Bowers, Robert Sims, Erik Gavidia,
 Stephanie Gavidia, Stacy Holstein, Jeffrey
 Stauffer, and Kerri Greaner, individually and as
 representatives of classes of similarly situated
                                                             COMPLAINT –
 persons, and on behalf of the BB&T Corporation              CLASS ACTION
 401(k) Savings Plan,

                     Plaintiffs,
 v.

 BB&T Corporation, the BB&T Corporation
 Employee Benefits Plan Committee, the BB&T
 Corporation Board of Directors, the
 Compensation Committee of the Board of
 Directors of BB&T Corporation, John P. Howe,
 Anna R. Cablik, Edwin H. Welch, Eric C.
 Kendrick, Louis B. Lynn, Tollie W. Rich, Steve
 Reeder, Cindy Powell, Sterling Capital
 Management LLC, and John Does 1–40,

                     Defendants.



                                   INTRODUCTION

        1.   Plaintiffs Burke Bowers, Robert Sims, Erik Gavidia, Stephanie Gavidia,

Stacy Holstein, Jeffrey Stauffer, and Kerri Greaner (“Plaintiffs”), individually and as

representatives of the classes described herein, and on behalf of the BB & T Corporation

401(k) Savings Plan (the “Plan”), bring this class action against the Plan’s fiduciaries,

Defendants BB&T Corporation (“BB&T”), the BB&T Corporation Employee Benefits

Plan Committee and its members and delegates, the BB&T Board of Directors, the


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Compensation Committee of the Board of Directors of BB&T Corporation and its

members and delegates, John P. Howe, Anna R. Cablik, Edwin H. Welch, Eric C.

Kendrick, Louis B. Lynn, Tollie W. Rich, Steve Reeder, Cindy Powell, Sterling Capital

Management LLC (“Sterling Capital”), and John Does 1–40 (who are members of the

Defendant committees or otherwise believed to be fiduciaries to the Plan). Based upon

Defendants’ breaches of their fiduciary duties and their engagement in prohibited

transactions in violation of the Employee Retirement Income Security Act of 1974, as

amended, 29 U.S.C. § 1001, et seq. (“ERISA”), Plaintiffs seek to recover the financial

losses suffered by the Plan and to obtain injunctive and other equitable relief from

Defendants.

       2.       This case is about an employer’s self-dealing and imprudent decision-

making in the management of its retirement plan.

       3.       ERISA imposes strict fiduciary duties of loyalty and prudence upon

employers and other fiduciaries of the Plan. 29 U.S.C. § 1104(a)(1). These fiduciary

duties are “the highest known to the law.” Tatum v. RJR Pension Inv. Comm., 761 F.3d

346, 356 (4th Cir. 2014) (citation and quotation marks omitted). Fiduciaries must act

“solely in the interest of the participants and beneficiaries.” 29 U.S.C. § 1104(a)(1).

       4.       BB&T does not act in the best interest of its employees and Plan

participants.    Instead, BB&T treats its 401(k) Plan as an opportunity to maximize

company profits at the expense of Plan participants, by (among other things) charging

Plan participants excessive fees and then recouping those fees as profits.


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       5.     BB&T is the Plan’s sponsor, recordkeeper, custodian, and primary

investment manager. Defendants have loaded the plan with high-cost mutual funds run

by BB&T’s wholly-owned subsidiary, Sterling Capital, which is also a participating

employer in the Plan. Sterling Capital then pays a large portion of the investment

management fees it receives back to BB&T, ostensibly for the recordkeeping and

custodial services that BB&T provides to the Plan, but in actuality the payments are two

to three times greater than the costs BB&T actually incurs to provide those services. The

rest is profit. Defendants’ prioritization of BB&T’s profits over prudent management of

the Plan has cost Plan participants tens of millions of dollars in excess expenses, and

constitutes a breach of Defendants’ fiduciary duties of prudence and loyalty that they

owed to Plan participants. Defendants’ various forms of self-dealing also constitute

prohibited transactions with a party-in-interest and a fiduciary in violation of 29 U.S.C. §

1106(a) and (b) and illegal inurement of Plan assets for the benefit of an employer under

29 U.S.C. § 1103(c)(1).

       6.     Defendants’ mismanagement of the Plan extends beyond their failure to

adequately control Plan costs. Defendants have also failed to remove poor performing

investments from the Plan, in breach of their fiduciary duties. For example, the BB&T

Large Cap Fund has been a poor performing mutual fund for decades. By 2009, it had

underperformed its benchmark index by over two percent per year over the past decade,

and had fallen short of its benchmark index in six of the past seven calendar years.

Despite its terrible performance, Defendants kept the fund in the Plan because of the


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revenue the fund generated for BB&T, and the results have been predictably poor for

Plan participants, costing them at least $24 to $32 million over the past six years.

       7.     Defendants also have mismanaged the Plan’s fixed investments, keeping

funds in a money market fund that has produced virtually no earnings for the past six

years, despite the availability of stable value funds that would have earned Plan

participants millions more in earnings each year without an increase in risk. Defendants

also retained the Plan’s investment in a BB&T deposit account, despite its low yields and

the availability of superior investment alternatives.

       8.     Based on this conduct, Plaintiffs, individually and on behalf of the

proposed classes, assert claims against Defendants for breach of the fiduciary duties of

loyalty and prudence (Count One), engaging in prohibited transactions with a party in

interest (Count Two) and a plan fiduciary (Count Three), and unlawful inurement of plan

assets to the benefit of an employer (Count Four).

                             JURISDICTION AND VENUE

       9.     Plaintiffs bring this action pursuant to 29 U.S.C. § 1132(a)(2) and (3),

which provide that participants in an employee retirement plan may pursue a civil action

on behalf of the plan to remedy breaches of fiduciary duties and other prohibited conduct,

and to obtain monetary and appropriate equitable relief as set forth in 29 U.S.C. § 1109.

       10.    This case presents a federal question and therefore this Court has subject

matter jurisdiction pursuant to 28 U.S.C. § 1331 and 29 U.S.C. § 1132(e)(1)(F).




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      11.    Venue is proper pursuant to 29 U.S.C. § 1132(e)(2) and 28 U.S.C. §

1391(b) because this is the district where the plan is administered, where the breaches of

fiduciary duties giving rise to this action occurred, and where Defendants may be found.

                                    THE PARTIES

                                        Plaintiffs

      12.    Plaintiff Burke Bowers is a former participant in the Plan within the

meaning of 29 U.S.C. §§ 1002(7) and 1132(a)(2)–(3), and is a resident of Abingdon,

Maryland.

      13.    Plaintiff Robert Sims is a former participant in the Plan within the meaning

of 29 U.S.C. §§ 1002(7) and 1132(a)(2)–(3), and is a resident of Hampton, Georgia.

      14.    Plaintiff Erik Gavidia is a current participant in the Plan within the meaning

of 29 U.S.C. §§ 1002(7) and 1132(a)(2)–(3), and is a resident of Wake Forest, North

Carolina.

      15.    Plaintiff Stephanie Gavidia is a former participant in the Plan within the

meaning of 29 U.S.C. §§ 1002(7) and 1132(a)(2)–(3), and is a resident of Wake Forest,

North Carolina.

      16.    Stacy Holstein is a former participant in the Plan within the meaning of 29

U.S.C. §§ 1002(7) and 1132(a)(2)–(3), and is a resident of Atlanta, Georgia.

      17.    Jeffrey Stauffer is a former participant in the Plan within the meaning of 29

U.S.C. §§ 1002(7) and 1132(a)(2)–(3), and is a resident of Sykesville, Maryland.

      18.    Kerri Greaner is a current participant in the Plan within the meaning of 29


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U.S.C. §§ 1002(7) and 1132(a)(2)–(3), and is a resident of Pembroke Pines, Florida.

                                           The Plan

       19.    BB&T is the “plan sponsor” of the BB&T Corporation 401(k) Savings Plan

within the meaning of 29 U.S.C. § 1002(16)(B).

       20.    The Plan is an “employee pension benefit plan” within the meaning of 29

U.S.C. § 1002(2)(A) and a “defined contribution plan” within the meaning of 29 U.S.C. §

1002(34).

       21.    The Plan is a qualified plan under 26 U.S.C. § 401 and is commonly

referred to as a “401(k) plan.”

       22.    The Plan was established on July 1, 1982, amended and restated as of

January 1, 2007, and amended and restated again as of January 1, 2013.

       23.    The Plan covers eligible employees and former employees of BB&T.

       24.    BB&T acted as the Plan’s trustee and recordkeeper throughout the

applicable statutory period.

                                          Defendants

       25.    BB&T is one of the largest financial services holding companies in the

United States, offering a full range of consumer and commercial banking, securities

brokerage, investment banking, insurance, trust, lending, and investment management

services. Based in Winston-Salem, North Carolina, BB&T and its subsidiaries have

locations throughout the United States.

       26.    Defendant BB&T Corporation Employee Benefits Plan Committee


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(hereinafter, with its members and delegates, the “EBPC”) is responsible under Section

8.1 of the Plan Document “for the general administration and interpretation of the plan”

and has administered the Plan at all relevant times during the statutory period. The

Chairman of the EBPC is designated as the plan administrator in Section 8.1 of the Plan

Document.     The EBPC, and specifically the Chairman of the EBPC, are named

fiduciaries under Section 10.1.2–.3 of the Plan Document and the Summary Plan

Description, tasked with administration of the Plan. Members of the EBPC are appointed

by the Board of Directors of BB&T Corporation.

       27.    The EBPC and the Chairman of the EBPC are designated in Section 8.1 of

the Plan Document as the “administrator” of the Plan under 29 U.S.C. § 1002(16)(A) and

are fiduciaries of the Plan under 29 U.S.C. § 1102(a).

       28.    The members of the EBPC, including the Chairman, are also fiduciaries of

the Plan under 29 U.S.C. § 1002(21)(A) because they exercised discretionary authority

and/or discretionary control respecting the management of the Plan, and had discretionary

authority and/or discretionary responsibility for the administration of the Plan. The

Chairman and other members of the EBPC are currently unknown to Plaintiffs, and those

individuals are therefore collectively named as John Does 1–10. Plaintiffs will substitute

the names of the John Does when they become known.

       29.    Any individual or entity to whom the EBPC delegated any of its fiduciary

functions or responsibilities are also fiduciaries of the Plan under 29 U.S.C. §

1002(21)(A). Because the individuals and/or entities that have been delegated fiduciary


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responsibilities by the EBPC are not currently known to Plaintiffs, they are collectively

named as John Does 11–20.

      30.    Defendant Steve Reeder is or was at all relevant times the Benefits Director

at BB&T. Reeder is a delegate of the EBPC, and in that capacity, signed the Plan’s Form

5500, filed with the Department of Labor, for 2009, 2010, 2011, 2012, and 2013.

      31.    Defendant Cindy Powell is the Corporate Controller for BB&T. Powell

acted as a delegate of BB&T in management and administration of the Plan, and in that

capacity, has signed the Plan’s Form 5500’s, filed with the Department of Labor, for

2009, 2010, 2011, 2012, and 2013.

      32.    Defendant Compensation Committee of the BB&T Corporation Board of

Directors (hereinafter, with its members and delegates, the “Compensation Committee”)

is a named fiduciary of the Plan in Section 10.1.5 of the Plan Document and the

Summary Plan Description, and is tasked with the duty of selecting, monitoring, and

removing investment options within the Plan and with adopting an investment policy

statement, and at all relevant times herein served in this capacity. BB&T’s Bylaws

provide that the Compensation Committee shall be composed of not less than three

members of the BB&T Board of Directors (“Board”), each of whom shall be elected by a

majority of the Board. Committee members are appointed annually by the Board and

may also be replaced by the Board. Current members of the Compensation Committee

are individual Defendants John P. Howe, Anna R. Cablik, Edwin H. Welch, Eric C.

Kendrick, Louis B. Lynn, and Tollie W. Rich. Former members of the Compensation


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Committee are not currently known to Plaintiffs and are collectively named as John Does

21–30.

         33.   The Compensation Committee is a fiduciary of the Plan pursuant to 29

U.S.C. § 1002(21) because it exercised discretionary authority or discretionary control

respecting management of the Plan, and exercised authority or control respecting

management or disposition of the Plan’s assets.

         34.   Any individual or entity to whom the Compensation Committee delegated

any of its fiduciary functions or responsibilities is also a fiduciary of the Plan under 29

U.S.C. §§ 1002(21)(A) & 1105(c). Because the individuals and/or entities that have been

delegated fiduciary responsibilities by the Compensation Committee are not currently

known to Plaintiffs, they are collectively named as John Does 31–40.

         35.   The BB&T Corporation Board of Directors is a named fiduciary of the Plan

in Section 10.1.1 of the Plan Document and is responsible for appointing and removing

members of the EBPC and the Compensation Committee. The Board is also given

authority to appoint and remove trustees of the Plan.

         36.   Defendant Sterling Capital Management, LLC (“Sterling Capital”) is a

wholly-owned subsidiary of BB&T and is a participating employer in the Plan. Sterling

Capital is a “party in interest” pursuant to 29 U.S.C. § 1002(14)(C) & (G), given that it is

an employer of employees covered by the Plan and is more than 50 percent owned by

BB&T, also an employer with employees in the Plan. Sterling Capital is a fiduciary of

the Plan pursuant to 29 U.S.C. § 1002(21)(A) because it exercises authority or control


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respecting management or disposition of Plan assets when it negotiates the payment of

revenue sharing and/or indirect compensation payments to BB&T from Plan assets.

       37.    Pursuant to 29 U.S.C. § 1002(16)(B), BB&T is the Plan sponsor.

       38.    BB&T also serves as the Plan’s recordkeeper, trustee, and primary service

provider, and thus is a “party in interest” under 29 U.S.C. § 1002(14). BB&T, acting

through its Board of Directors, is a fiduciary to the Plan because it is responsible for

appointing and removing members of the EBPC and the Compensation Committee that

administer the Plan and select the Plan’s investment options.

       39.    BB&T and the Board are also subject to co-fiduciary liability under 29

U.S.C. § 1105(a)(1)–(3) because they enabled other fiduciaries to commit breaches of

fiduciary duties through their appointment powers and failed to remedy breaches of

fiduciary duties of which they had knowledge. Finally, BB&T retains control over the

activities of its employees, Board, internal departments, and agents that performed

fiduciary functions with respect to the Plan through its power to appoint, terminate, and

determine levels of compensation at will. BB&T is therefore liable for the fiduciary

breaches alleged herein of its employees, Board, internal departments, and agents.

       ERISA FIDUCIARY DUTIES AND PROHIBITED TRANSACTIONS

       40.     ERISA imposes strict fiduciary duties of loyalty and prudence upon

Defendants as fiduciaries of the Plan. 29 U.S.C. § 1104(a)(1) states, in relevant part, that:

       [A] fiduciary shall discharge his duties with respect to a plan solely in the interest
       of the participants and beneficiaries and—

              (A)    For the exclusive purpose of

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                     (i)    Providing benefits to participants and their beneficiaries; and

                     (ii)   Defraying reasonable expenses of administering the plan;

              (B) With the care, skill, prudence, and diligence under the circumstances
       then prevailing that a prudent man acting in a like capacity and familiar with such
       matters would use in the conduct of an enterprise of like character and with like
       aims.

       41.    These fiduciary duties owed by “those responsible for the administration of

employee benefit plans and the investment and disposal of plan assets . . . to the

participants and beneficiaries of an ERISA plan are the highest known to the law.”

Tatum, 761 F.3d at 355–56.

       42.    The duty of loyalty requires fiduciaries to act with an “eye single” to the

interests of plan participants. Pegram v. Herdrich, 530 U.S. 211, 235 (2000). “Perhaps

the most fundamental duty of a [fiduciary] is that he must display . . . complete loyalty to

the interests of the beneficiary and must exclude all selfish interest and all consideration

of the interests of third persons.” Id. at 224 (quotation marks and citations omitted).

Thus, “in deciding whether and to what extent to invest in a particular investment, a

fiduciary must ordinarily consider only factors relating to the interests of plan participants

and beneficiaries . . . . A decision to make an investment may not be influenced by

[other] factors unless the investment, when judged solely on the basis of its economic

value to the plan, would be equal or superior to alternative investments available to the

plan.” Dep’t of Labor ERISA Adv. Op. 88-16A (Dec. 19, 1988) (emphasis added).

       43.    ERISA also “imposes a ‘prudent person’ standard by which to measure

fiduciaries’ investment decisions and disposition of assets.” Fifth Third Bancorp v.

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Dudenhoeffer, 134 S. Ct. 2459, 2467 (2014) (quotation omitted). In addition to a duty to

select prudent investments, under ERISA a fiduciary “has a continuing duty to monitor

[plan] investments and remove imprudent ones” that exists “separate and apart from the

[fiduciary’s] duty to exercise prudence in selecting investments.” Tibble v. Edison Int’l,

135 S. Ct. 1823, 1828 (2015). If an investment is imprudent, the plan fiduciary “must

dispose of it within a reasonable time.” Id. (quotation omitted). Therefore, “a fiduciary

cannot free himself from his duty to act as a prudent man simply arguing that other

funds” available within the plan could have “theoretically . . . create[d] a prudent

portfolio.” DiFelice v. U.S. Airways, Inc., 497 F.3d 410, 423 (4th Cir. 2007).

       44.    Failing to closely monitor and subsequently minimize administrative

expenses wherever possible by surveying the competitive landscape and leveraging the

plan’s size to reduce fees, constitutes a breach of fiduciary duty. Tussey v. ABB, Inc., 746

F.3d 327, 336 (8th Cir. 2014). Similarly, selecting higher-cost investments because they

benefit a party in interest constitutes a breach of fiduciary duties when similar or identical

lower-cost investments were available. Braden v. Wal-Mart Stores, 588 F.3d 585, 596

(8th Cir. 2009).

       45.    The Supreme Court has noted that the legal construction of an ERISA

fiduciary’s duties is “derived from the common law of trusts.” Tibble, 135 S. Ct. at 1828.

Therefore “[i]n determining the contours of an ERISA fiduciary’s duty, courts often must

look to the law of trusts.” Id. In fact, the duty of prudence imposed under 29 U.S.C. §




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1104(a)(1)(B) is a codification of the common law prudent investor rule found in trust

law. Buccino v. Continental Assur. Co., 578 F. Supp. 1518, 1521 (S.D.N.Y. 1983).

       46.     Pursuant to the prudent investor rule, fiduciaries are required to “incur only

costs that are reasonable in amount and appropriate to the investment responsibilities of

the trusteeship.” Restatement (Third) of Trusts § 90(c)(3) (2007); see also Restatement §

90 cmt. b (“[C]ost-conscious management is fundamental to prudence in the investment

function.”). The Introductory Note to the Restatement’s chapter on trust investment

further clarifies:

       [T]he duty to avoid unwarranted costs is given increased emphasis in the
       prudent investor rule. This is done to reflect the importance of market-
       efficiency concepts and differences in the degrees of efficiency and
       inefficiency in various markets. . . . The duty to be cost conscious requires
       attention to such matters as the cumulation of fiduciary commissions with
       agent fees or the purchase and management charges associated with mutual
       funds and other pooled investment vehicles.                 In addition, active
       management strategies involve investigation expenses and other transaction
       costs . . . that must be considered, realistically, in relation to the likelihood
       of increased return from such strategies.

Restatement (Third) of Trusts ch. 17, intro. note (2007). Where markets are efficient,

fiduciaries are encouraged to use low-cost index funds. Id. § 90 cmt. h(1). While a

fiduciary may consider higher-cost, actively-managed mutual funds as an alternative to

index funds, “[a]ctive strategies . . . entail investigation and analysis expenses and tend to

increase general transaction costs . . . . [T]hese added costs . . . must be justified by

realistically evaluated return expectations.” Id. § 90 cmt. h(2).

       47.     In considering whether a fiduciary has breached the duties of prudence and

loyalty, the Court considers both the “merits of a transaction” as well as “the

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thoroughness of the investigation into the merits of that transaction.” DiFelice, 497 F.3d

at 418 (quotation and citation marks omitted). Mere good faith in executing these duties

is not a defense: “a pure heart and an empty head are not enough.” Id.

       48.     The general duties of loyalty and prudence imposed by 29 U.S.C. § 1104

are supplemented by 29 U.S.C. § 1106, which provides a detailed list of transactions that

are expressly prohibited and thus constitute per se violations of ERISA. 29 U.S.C. §

1106(a)(1) relates to transactions between the plan and parties in interest, providing, in

pertinent part, that:

       A fiduciary with respect to a plan shall not cause the plan to engage in a
       transaction, if he knows or should know that such transaction constitutes a direct
       or indirect—

              (A) sale or exchange, or leasing, of any property between the plan and a
       party in interest;

               ...

              (C) furnishing of goods, services, or facilities between the plan and a
       party in interst;

              (D) transfer to, or use by or for the benefit of a party in interest, of any
       assets of the plan . . . .

       49.     29 U.S.C. § 1106(b) relates to transactions between the plan and a fiduciary

of the plan, providing that:

       A fiduciary with respect to a plan shall not—

             (1)        deal with the assets of the plan in his own interest or for his own
       account;

              (2)   in his individual or in any other capacity act in any transaction
       involving the plan on behalf of a party (or represent a party) whose interests are


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       adverse to the interests of the plan or the interests of its participants or
       beneficiaries; or

              (3)    receive any consideration for his own personal account from any
       party dealing with such plan in connection with a transaction involving the assets
       of the plan.

       50.    ERISA also imposes explicit co-fiduciary duties on plan fiduciaries. 29

U.S.C. § 1105(a) states, in pertinent part, that:

       In addition to any liability which he may have under any other provision of this
       part, a fiduciary with respect to a plan shall be liable for a breach of fiduciary
       responsibility of another fiduciary with respect to the same plan in the following
       circumstances:

              (1) If he participates knowingly in, or knowingly undertakes to conceal, an
       act or omission of such other fiduciary, knowing such act or omission is a breach;
       or

              (2) if, by his failure to comply with section 404(a)(1) in the administration
       of his specific responsibilities which give rise to his status as a fiduciary, he has
       enabled such other fiduciary to commit a breach; or

             (3) If he has knowledge of a breach by such other fiduciary, unless he
       makes reasonable efforts under the circumstances to remedy the breach.

     PRUDENT MANAGEMENT OF AN EMPLOYEE RETIREMENT PLAN

       51.    The Plan is a defined-contribution or 401(k) plan, a type of employee

retirement plan in which employees invest a percentage of their earnings on a pre-tax

basis. The company often matches those contributions up to a certain percentage of the

compensation contributed by the employee each pay period. For example, within the

Plan, BB&T employees may defer anywhere from 1% to 50% of their compensation on a

pre-tax basis, and BB&T matches those contributions at a rate of 100% for the first 6% of

compensation that an employee contributes. 2015 BB&T Summary Plan Description at


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4, 6. Participants direct the investment of these contributions, choosing from among a

lineup of options offered by the Plan. Investment Company Institute, A Close Look at

401(k) Plans, at 9, available at https://www.ici.org/pdf/ppr_14_dcplan_profile_401k.pdf

(hereinafter “ICI Study”).

      52.    Fiduciaries are obligated to assemble a diversified menu of investment

options. 29 U.S.C. § 1104(a)(1)(C); 29 C.F.R. § 2550.404c-1(b)(1)(ii). Each investment

option is generally a pooled investment product—which includes mutual funds, collective

investment trusts, and separate accounts—offering exposure to a particular asset class or

sub-asset class. ICI Study at 7; Ian Ayres & Quinn Curtis, Beyond Diversification: The

Pervasive Problem of Excessive Fees and “Dominated Funds” in 401(k) Plans, 124 Yale

L.J. 1476, 1485 (2015) (hereinafter “Beyond Diversification”). The broad asset classes

generally include fixed investments, bonds, stocks, and occasionally real estate. Money

market funds, guaranteed investment contracts, and stable value funds are examples of

fixed investments. Bonds are debt securities, which are generally categorized by the

issuer/borrower (U.S. Government, foreign governments, municipalities, corporations),

the duration of the debt (repayable anywhere between 1 month and 30 years), and the

credit risk associated with the particular borrower. Equity, or stock, investments, are

generally defined by three characteristics: (1) where they invest geographically (i.e.,

whether they invest in domestic or international companies, or both); (2) the size of

company they invest in (generally categorized as small cap, mid cap, or large cap); and

(3) their investment style, i.e. growth, value, or blend (growth funds invest in fast-


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growing companies, value funds look for more conservative or established stocks that are

more likely to be undervalued, and blend funds invest in a mix of both types of stocks).

Balanced funds are a type of fund that invests in a mix of stocks and bonds. Target-date

funds assemble a broad portfolio of investments from different asset classes at a risk level

that declines over time as the targeted retirement date approaches.

       53.    Investment funds can be either passively or actively managed. Passive

funds, popularly known as “index funds,” seek to replicate the performance of a market

index, such as the S&P 500, by purchasing a portfolio of securities matching the

composition of the index itself. James Kwak, Improving Retirement Savings Options for

Employees, 15 U. Pa. J. Bus. L. 483, 493 (2013). By following this strategy, index funds

produce returns that are very close to the market segment tracked by the index. Id. Index

funds therefore offer predictability, diversified exposure to a particular asset or sub-asset

class, and low expenses. Id. Actively managed funds, on the other hand, pick individual

stocks and bonds within a particular asset or sub-asset class and try to beat the market

through superior investment selection. Id. at 485–86. Actively managed funds are

typically much more expensive than index funds, but offer the potential to outperform the

market (although this potential is typically not realized).           U.S. Dep’t of Labor,

Understanding Retirement Plan Fees and Expenses, at 9 (Dec. 2011), available at

http://www.dol.gov/ebsa/pdf/undrstndgrtrmnt.pdf.

       54.    At retirement, employees’ benefits “are limited to the value of their own

investment accounts, which is determined by the market performance of employee and


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employer contributions, less expenses.”       Tibble, 135 S. Ct. at 1826.             Maximizing

employees’ retirement benefits is therefore heavily influenced by two critical, interrelated

functions of plan fiduciaries: designing the menu of investment options and minimizing

plan expenses.

       55.     There are two major categories of expenses within a defined contribution

plan: administrative expenses and investment management expenses.                     Investment

Company Institute & Deloitte Consulting LLP, Inside the Structure of Defined

Contribution/401(k)    Plan    Fees,    2013,      at   17     (Aug.   2014),    available    at

https://www.ici.org/pdf/rpt_14_dc_401k_fee_study.pdf             (hereinafter     “ICI/Deloitte

Study”).     Recordkeeping expenses are typically the largest administrative expense,

followed by custodial/trustee services related to the actual purchase and holding of

monies and securities. Investment management expenses are the fees that are charged by

the investment manager, and participants “typically pay these asset-based fees as an

expense of the investment options in which they invest.” Id. On average, 82% of overall

fees within a plan are investment expenses, while administrative fees on average make up

only 18% of total fees. Id. at 17.

       56.     Recordkeeping and custodial services are essentially commodities. Eric

Droblyen, Evaluating 401k Providers: Separating Commodity from Value-Added

Services,        The     Frugal        Fiduciary        Blog        (Feb.       10,       2015),

http://blog.employeefiduciary.com/blog/evaluating-401k-providers-separating-

commodity-value-added-services (last accessed Aug. 21, 2015).               Fiduciaries should


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therefore select recordkeeping and custodial service providers based upon which provider

can provide these services at the lowest cost to the Plan. Id.

       57.    Plan fiduciaries have many tools available to them to monitor and control

the plan’s administrative costs.            First, they can hire consultants to conduct a

benchmarking study of the plan’s fees and costs compared to other similar plans.            See

Philip Chao, Fiduciary Considerations in Controlling and Accounting for Plan

Administration         Fees,           at         16          (January      25,       2014),

https://www.chaoco.com/Data/Files/Whack-A-Mole%20-

%20Fiduciary%20Considerations%20in%20Plan%20Fees%202014%2001%2025%20Ch

ao%20Co%20S.pdf         (hereinafter        “Fiduciary   Considerations”)     (recommending

commission of a benchmarking study every two years); Kathleen McBride, The $14

Trillion Question: Why Aren’t There More Bidding Wars for Service Providers to 401(k)

Plans?, Fiduciary Path Blog (Sept. 5, 2013), http://fiduciarypath.com/2013/09/06/the-14-

trillion-question-why-arent-there-more-bidding-wars-for-vendor-services-to-401k-plans/

(last accessed Aug. 18, 2015). Second, a plan may submit a Request for Information

(RFI) from both its incumbent service providers and competitors to assess the capabilities

and costs of competing providers. The Vanguard Group, Determining Reasonableness of

Retirement         Plan         Fees,            at       5          (September       2011),

http://www.vanguard.com/pdf/planfees.pdf?cbdForceDomain=true (last accessed Aug.

18, 2015). Finally, a Plan can periodically engage in a competitive bidding process by

submitting a Request for Proposal (RFP) to multiple service providers. Id. at 6; see also


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George v. Kraft Foods Global, Inc., 641 F.3d 786, 799 (7th Cir. 2011) (finding triable

issue of fact regarding prudence of defendant’s plan management given its failure to

engage in a competitive bidding process for plan services). According to the Department

of Labor (“DOL”), regular use of each of these tools is the best means of controlling plan

costs.    Dep’t of Labor Employee Benefits Security Administration, Understanding

Retirement      Plan      Fees   and     Expenses,     at     11    (December       2011),

http://www.dol.gov/ebsa/pdf/undrstndgrtrmnt.pdf; Chao, Fiduciary Considerations, at

16.

         58.   Administrative expenses can be paid directly by employers, directly by the

plan, or indirectly as a built-in component of the fees charged for the investment products

offered in the plan in a practice known as “revenue sharing.” Ayres & Curtis, Beyond

Diversification at 1486; ICI/Deloitte Study at 16. Fees paid directly to service providers

out of the plan assets are referred to as “Direct Compensation”; monies received by

service providers pursuant to a revenue-sharing scheme are referred to as “Indirect

Compensation.”     29 C.F.R. § 2550.408b-2(c)(viii)(B); IRS Form 5500, Schedule C.

Most, but not all, forms of direct and indirect compensation are disclosed on Form

5500—the form that must be filed for employee benefit plans under sections 104 and

4065 of ERISA—or in the audited financial statements of ERISA-compliant 401(k)

plans. ICI Study at 39.

         59.   Fiduciaries exercising control over administration of the plan and the

selection of core investment options can minimize plan expenses by hiring low-cost


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service providers and by selecting a menu of low-cost investment options. This task is

made significantly easier the larger a plan gets. Economies of scale generally lower

administrative expenses on a per-participant or percentage-of-assets basis. ICI/Deloitte

Study at 7, 21. Larger plans also can lower investment management fees by selecting

mutual funds only available to institutional investors or by negotiating directly with the

investment manager to obtain a lower fee than is offered to mutual fund investors. See

Consumer Reports, How to Grow Your Savings: Stop 401(k) Fees from Cheating You Out

of        Retirement         Money          (Aug.         2013),        available         at

http://www.consumerreports.org/cro/magazine/2013/09/how-to-grow-your-

savings/index.htm (instructing employees of large corporations that “[y]our employer

should be able to use its size to negotiate significant discounts with mutual-fund

companies”); U.S. Dep’t of Labor, Study of 401(k) Plan Fees and Expenses, at 17 (April

13, 1998), https://www.dol.gov/ebsa/pdf/401kRept.pdf (reporting that by using separate

accounts and similar instruments, “[t]otal investment management expenses can

commonly be reduced to one-fourth of the expenses incurred through retail mutual

funds”). Empirical evidence bears this out. In 2012, total plan fees in the average

defined contribution plan were 0.91%, but this varied between an average of 1.27% in

plans with $1 million to $10 million in assets, and an average of only 0.33% for plans

with over $1 billion in assets. ICI Study at 41.

       60.    Given the significant variation in total plan costs attributable to plan size,

the reasonableness of administrative expenses and investment expenses should be


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determined by comparisons to other similarly-sized plans. Cf. Tibble v. Edison Int’l,

2010 WL 2757153, at *9, 15, 28 (C.D. Cal. July 8, 2010) (evaluating the propriety of

particular fees and investment decisions in light of the size of the plan), rev’d on other

grounds, 135 S. Ct. 1823 (2015); Tussey v. ABB, Inc., 2007 WL 4289694, at *6, *6 n.5

(W.D. Mo. Dec. 3, 2007) (determining that administrative and investment expenses were

unreasonable through comparisons to similar plans because “[a]t most, reasonable

compensation should mean compensation commensurate with that paid by similar plans

for similar services to unaffiliated third parties”) (quoting Nell Hennessy, Follow the

Money: ERISA Plan Investments in Mutual Funds and Insurance, 38 J. Marshall L. Rev.

867, 877 (2005)).

       61.     With respect to designing the menu of investment options (see supra at ¶

53), a substantial body of academic and financial industry literature provides two critical

insights for fiduciaries to consider when selecting investments to be offered within a plan.

The first critical insight provided by academic and financial literature is that fiduciaries

must carefully tend to their duty of investment menu construction—selecting prudent

investments, regularly reviewing plan options to ensure that investment choices remain

prudent, and weeding out costly or poorly-performing investments. Plan participants

often engage in “naïve diversification,” whereby they attempt to diversify their holdings

simply by spreading their money evenly among the available funds. Jill E. Fisch & Tess

Wilkinson-Ryan, Why Do Retail Investors Make Costly Mistakes?, 162 U. Pa. L. Rev.

605, 636–38 (2014) (hereinafter “Costly Mistakes”); Shlomo Benartzi & Richard H.


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Thaler, Naïve Diversification Strategies in Defined Constribution Plans, 91 Am. Econ.

Rev. 79, 96 (2001). Additionally, once an initial investment allocation has been chosen,

401(k) participants are prone to inertia, failing to reassess their investment decisions even

when presented with evidence suggesting that they should. John Ameriks & Stephen P.

Zeldes, How Do Household Portfolio Shares Vary with Age?, at 31, 48, Columbia

University Working Paper (Sept. 2004) (finding that among group of 16,000 randomly

selected TIAA-CREF participants, in a ten-year period, 48 percent of participants made

no changes at all to their account and 73 percent of participants made no change to the

allocation of existing assets); Julie Agnew et al., Portfolio Choice and Trading in a Large

401(k) Plan, 93 Amer. Econ. Rev. 193, 194 (Mar. 2003) (sampling of seven thousand

401(k) accounts showed that 87 percent of 401(k) account holders made no trades in the

average year and that the average 401(k) investor makes one trade every 3.85 years).

Prudent fiduciaries therefore will limit their menus to only those funds that represent

sound long-term investments, and remove imprudent investments rather than trusting

participants to move their money out of an imprudent investment.

       62.    The second critical insight provided by academic and financial industry

literature is that in selecting prudent investments, the most important consideration is low

fees. Numerous scholars have demonstrated that high expenses are not correlated with

superior investment management. Indeed, funds with high fees on average perform

worse than less expensive funds even on a pre-fee basis. Javier Gil-Bazo & Pablo Ruiz-

Verdu, When Cheaper is Better: Fee Determination in the Market for Equity Mutual


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Funds, 67 J. Econ. Behav. & Org. 871, 873 (2009); see also Fisch & Wilkinson-Ryan,

Costly Mistakes, at 1993 (summarizing numerous studies showing that “the most

consistent predictor of a fund’s return to investors is the fund’s expense ratio”).

       [T]he empirical evidence implies that superior management is not priced
       through higher expense ratios. On the contrary, it appears that the effect of
       expenses on after-expense performance (even after controlling for funds’
       observable characteristics) is more than one-to-one, which would imply that
       low-quality funds charge higher fees. Price and quality thus seem to be
       inversely related in the market for actively managed funds.

Gil-Bazo & Ruiz-Verdu, When Cheaper is Better, at 883.

       63.    While high-cost mutual funds may exhibit positive, market-beating

performance over shorter periods of time, studies demonstrate that this is arbitrary:

outperformance during a particular period is not predictive of whether a mutual fund will

perform well in the future. Laurent Barras et al., False Discoveries in Mutual Fund

Performance: Measuring Luck in Estimated Alphas, 65 J. Fin. 179, 181 (2010); Mark M.

Carhart, On Persistence in Mutual Fund Performance, 52 J. Fin. 57, 57, 59 (1997)

(measuring thirty-one years of mutual fund returns and concluding that “persistent

differences in mutual fund expenses and transaction costs explain almost all of the

predictability in mutual fund returns”). Any sustainable ability to beat the market that

managers do demonstrate is nearly always dwarfed by mutual fund expenses. Eugene F.

Fama & Kenneth R. French, Luck Versus Skill in the Cross-Section of Mutual Fund

Returns, 65 F. Fin. 1915, 1931–34 (2010); Russ Wermers, Mutual Fund Performance: An

Empirical Decomposition into Stock-Picking Talent, Style, Transaction Costs, and

Expenses, 55 J. Fin. 1655, 1690 (2000). The one exception to the general arbitrariness

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and unpredictability of mutual fund returns is that the worst-performing mutual funds

show a strong, persistent tendency to continue their poor performance. Carhart, On

Persistence in Mutual Fund Performance, at 57. Therefore, regardless of where one

comes down on the issue of active versus passive investing, a prudent investor should

choose only index funds and low-cost actively managed funds whose long-term

performance history permits a fiduciary to realistically conclude that the fund is likely to

outperform its benchmark index in the future, after accounting for investment expenses.

See Restatement (Third) of Trusts § 90 cmt. h(2).

     DEFENDANTS’ VIOLATIONS OF ERISA IN MANAGING THE BB&T 401(k)
                               PLAN

I.      DEFENDANTS FAILED TO ADEQUATELY CONTROL PLAN COSTS

        64.   As of the end of 2009, the Plan had approximately $1,637,870,000 in assets

and 27,435 participants with a balance in their account.

        65.   The only investment options originally offered under the Plan were BB&T

company stock and mutual funds managed by BB&T. BB&T did not begin offering

investment options managed by non-BB&T entities until 2009. See Account Statement

of Burke Bowers, Page 4, dated December 31, 2008 (listing balance of investments in

each Plan investment as of December 31, 2008) (attached to Complaint as Exhibit A).

        66.   As of the end of 2009, the Plan offered participants the choice of 25 “core”

investment options. The core investment options included a company stock fund that

invests exclusively in BB&T stock, a fixed account managed by BB&T, a money market

mutual fund, one bond mutual fund managed by BB&T, twelve target date funds

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managed by T. Rowe Price, and nine equity mutual funds, seven of which were managed

by BB&T. The Plan also gave participants the option of choosing from a wider array of

investments in a Self-Directed Brokerage Account (“SDBA”).

       67.    As of the end of 2013, the Plan had approximately $2,729,550,000 in assets

and 32,008 participants with a balance in their account.

       68.    As of the end of 2013, the Plan offered 27 core investment options

consisting of a BB&T company stock fund, two fixed accounts, one of which was

managed by BB&T, a money market fund, twelve target date funds, a bond fund

managed by Sterling Capital, BB&T’s wholly owned subsidiary,1 and ten equity mutual

funds, five of which were managed by Sterling Capital. Because of the Plan’s history of

holding only investment funds owned by BB&T and the general inertia exhibited by

401(k) investors discussed above, over $1 billion in plan assets were invested in Sterling

Capital mutual funds. An additional $650 million was held in company stock, and $174

million was held in a fixed account managed by BB&T.

       69.    Taking into account all administrative and investment expenses within the

Plan, and using 2013 year-end balances—as reported in the most recent Form 5500 filed

by the Plan—and publicly available information regarding each investment’s expenses

(while making certain low-end assumptions regarding the cost of operating the company

1
  In 2010, BB&T’s mutual funds were re-branded as Sterling Capital Funds, a wholly-
owned subsidiary of BB&T, and all management responsibilities were transferred to
Sterling Capital Management, LLC, a separate entity that is also wholly-owned by
BB&T. All money that participants had previously held in BB&T mutual funds was
transferred into the re-branded Sterling Capital Funds.

                                            26


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stock fund and managing separate accounts in the Plan that BB&T does not disclose),

Plaintiffs estimate that total plan costs for 2013 were approximately $14.1 million, equal

to 0.52% of the $2.73 billion in Plan assets. The total plan cost of 0.52% is at the 90th

percentile for plans over $1 billion in assets, and is approximately 57% higher than the

average total plan cost of 0.33% for plans over $1 billion in assets. ICI Study at 40–42.

Had the Plan merely conformed its total plan cost to the average of 0.33%, total plan

costs only would have been approximately $8.9 million, a savings of approximately $5.2

million per year for Plan participants. As will be described below, these excessive costs

can be attributed almost entirely to Defendants’ self-serving selection of high-cost,

proprietary mutual funds to support their own bottom line.

II.     BB&T RECEIVED GROSSLY EXCESSIVE COMPENSATION FOR ADMINISTERING
        THE PLAN

        70.    BB&T acts as the sole trustee and recordkeeper for the Plan, aside from the

SDBA, which is managed by TD Ameritrade.

        71.    For each year in which data is available, BB&T has received indirect

compensation for these services, as disclosed on Schedule C of Form 5500. (Excerpts of

BB&T’s 2009 Form 5500 are attached to the Complaint as Exhibit B). These fees were

paid as a percentage of assets of several of the investments within the plan. In 2009,

BB&T received indirect compensation from nine of the equity mutual funds and all

twelve of the target date funds within the Plan in the following percentages:

                                                                         % of Fund
                               Indirect Comp        Fund Expense        Expenses Paid
              Fund             Rec’d by BB&T           Ratio              to BB&T

                                            27


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                             0.70% avg daily
     BB&T Mid Value           balance (adb)         0.95%               74%

 BB&T Total Return Bond         0.45% adb           0.72%               63%

     BB&T Int’l Equity          0.85% adb           1.53%               56%

     BB&T Large Cap             0.60% adb           0.83%               72%

   BB&T Equity Income           0.70% adb           0.97%               72%

       BB&T Special
       Opportunities            0.80% adb           1.07%               75%

  BB&T Mid Cap Growth           0.70% adb           0.98%               71%

     BB&T Small Cap             0.80% adb           1.16%               69%

      Brandywine Blue           0.15% adb           1.16%               13%

  All T. Rowe Price Funds       0.15% adb           various            various

(Ex. B at 4–7.)

       72.    Based upon 2009 year-end balances, BB&T received approximately $4.07

million in indirect compensation in 2009, supposedly to reimburse BB&T for the

provision of recordkeeping and custodial services. The indirect compensation formulas

remained unchanged in 2010, although the BB&T Mid Cap Growth Fund and BB&T

Small Cap Fund were closed (their balances were transferred to other funds), the

Brandywine Blue Fund was removed from the Plan, and the BB&T funds were re-

branded as Sterling Capital funds (a wholly-owned subsidiary of BB&T). (See BB&T

2010 Form 5500, excerpts attached as Exhibit C to the Complaint.) Based upon 2010

year-end balances, BB&T received approximately $5.08 million in indirect compensation


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in 2010. In 2011, BB&T increased the amount it received from two of its own funds,

increasing the charge to the Sterling Capital Small Cap Value Fund from 0.80% to 1.20%

and the Sterling Capital Total Return Bond Fund from 0.45% to 0.48%, but otherwise

BB&T charged the same percentages as in 2010. (See BB&T 2011 Form 5500, excerpts

attached to Complaint as Exhibit D.) The indirect compensation formulas for 2011 are

shown below:

                                                                     % of Fund
                              Indirect Comp      Fund Expense       Expenses Paid
           Fund               Rec’d by BB&T         Ratio             to BB&T
                              0.70% avg daily
 Sterling Capital Mid Value    balance (adb)         0.95%               74%
   Sterling Capital Total
        Return Bond             0.48% adb            0.72%               67%
      Sterling Capital
       International              0.85%              1.62%               53%
   Sterling Capital Select
  Equity (formerly BB&T
         Large Cap)             0.60% adb            0.83%               72%
   Sterling Capital Equity
           Income               0.70% adb            0.97%               72%
  Sterling Capital Special
       Opportunities            0.80% adb            1.07%               75%
 Sterling Capital Small Cap
           Value                1.20% adb            1.20%              100%
  All T. Rowe Price Funds       0.15% adb            various            various

(Ex. D at 4–6.)




                                          29


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       73.   Based on 2011 year-end account balances, BB&T received approximately

$5.14 million in indirect compensation in 2011.          In 2012, the Sterling Capital

International Fund was removed from the Plan when it ceased operations, and BB&T

stopped receiving indirect compensation from fund families other than Sterling Capital,

but despite these changes BB&T still received approximately $5.3 million in indirect

compensation solely from the Sterling Capital Funds, using 2012 year-end values for

each fund as reported on its Form 5500 disclosures. (See BB&T 2012 Form 5500,

excerpts attached to Complaint as Exhibit E.) In 2013, according to its Form 5500,

BB&T reduced the indirect compensation it received from its own funds to 0.15%.

Based on 2013 year-end values, BB&T was only compensated approximately $1.5

million in indirect compensation as reimbursement for custodial and recordkeeping

services.

       74.   The indirect compensation received between 2009 and 2012 grossly

exceeded the actual administrative expenses incurred by BB&T to operate the Plan.

According to the ERISA Section 408(b)(2) Fee Disclosure provided to the Plan by BB&T

Retirement and Institutional Services on May 31, 2012, attached to the Complaint as

Exhibit F, the total cost of all administrative services provided to participants and the

Plan by BB&T was $58.60 per participant, which BB&T estimated would amount to

$1,744,287 in costs in 2012 based on 29,766 participants in the Plan. (See Exhibit F at 8,

10, 15.) According to BB&T’s Form 5500, the number of Plan participants with active

balances at the end of each year (the figure that BB&T appears to use to calculate Plan


                                           30


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expenses) was: 27,435 in 2009; 28,138 in 2010; 28,550 in 2011; and 31,512 in 2012.

(Ex. B at 2; Ex. C at 2; Ex. D at 2; Ex. E at 2.) Based upon its own disclosures (reflecting

costs of $58.60 per plan participant), BB&T would have incurred the following costs for

providing administrative services to the Plan and Plan participants from 2009 to 2012:

$1,607,691.00 in 2009; $1,648,886.80 in 2010; $1,673,030.00 in 2011; and

$1,846,603.20 in administrative costs in 2012. The indirect compensation received by

BB&T from 2009 to 2012 was therefore two to three times greater than the

administrative expenses incurred by BB&T during those four years, as shown in the

following chart:


               Indirect Compensation   Administrative Costs                Net Profit to
    Year           Received (Est.)   Incurred by BB&T (Est.)               BB&T (Est.)

    2009               $4.07M                       $1.61M                    $2.46M

    2010               $5.08M                       $1.65M                    $3.43M

    2011               $5.14M                       $1.67M                    $3.47M




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    2012               $5.29M2                     $1.85M                   $3.44M


       75.    Had Defendants prudently managed the Plan and performed benchmarking

studies, submitted RFIs and RFPs to recordkeeping and custodial service providers that

were not affiliated with BB&T, and procured the services of the lowest bidders,

Defendants would have saved Plan participants several million dollars per year from

2009 to 2012. Instead, Defendants failed to prudently monitor and contain Plan costs,

permitting BB&T to act as the sole provider of administrative services to the Plan out of

loyalty to the Plan sponsor, rather than Plan participants, in breach of Defendants’

fiduciary duties.

       76.    Although BB&T has reduced its receipt of revenue sharing payments from

the Sterling Capital Funds from 2013 to the present, Plaintiffs believe BB&T continues to

profit in a similar manner through the excess fees charged by the Sterling Capital Funds

and the retained profits of BB&T’s subsidiary, Sterling Capital.


2
  There is a significant discrepancy between Plaintiffs’ estimates of BB&T’s indirect
compensation and the amount of compensation BB&T disclosed in its 408(b)(2) Fee
Disclosure to the Plan. (Ex. F.) In the Fee Disclosure, BB&T estimated annual receipt of
only $1.62 million in revenue sharing payments. (Id. at 10, 14.) The source of this
conflict is a difference in the percentage of each fund’s balance BB&T purported it was
receiving. In the Fee Disclosure, it alleged it was only receiving 0.15% of the balance of
most Sterling Capital funds, with the exception of 0.55% it claimed it was receiving from
the Sterling Capital Small Cap Value Fund. (Id. at 14.) But on the 2012 Form 5500,
BB&T reported it was receiving between 0.48% and 1.20% of the average daily balance
of the Sterling Capital funds. (Ex. E at 4–6.) Because Form 5500 was reported to the
federal government (and required to be reported under federal law), the higher
percentages disclosed on Form 5500 are presumably more reliable.

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III.     DEFENDANTS SELECTED AND RETAINED HIGH COST PROPRIETARY FUNDS IN
         THE PLAN IN THEIR OWN SELF-INTEREST AND AT THE EXPENSE OF PLAN
         PARTICIPANTS

         77.   The market for pooled investment funds within the retirement plan market

is highly competitive, with hundreds of asset management firms and thousands of pooled

investment funds available to choose from. Retirement plans with assets over $1 billion

have access to virtually any money manager that they choose at extraordinarily

competitive rates.

         78.    In 2009, in retirement plans with over $1 billion in assets, the average

domestic equity mutual fund had an expense ratio of 0.56%, the average international

equity mutual fund had an expense ratio of 0.77%, and the average domestic bond mutual

fund had an expense ratio of 0.38%. ICI Study at 46.

         79.   In 2009, the six BB&T domestic equity funds in the Plan (BB&T Mid Cap

Growth, BB&T Mid Value, BB&T Large Cap, BB&T Small Cap, BB&T Equity Income,

BB&T Special Opportunities) had expense ratios between 0.83% and 1.16%, which were

48 to 107 percent higher than the average domestic equity mutual fund for plans of

BB&T’s size.

         80.   In 2009, the BB&T International Equity Fund had an expense ratio of

1.53%. The BB&T Total Return Bond Fund had an expense ratio of 0.72%. In each

case, the BB&T mutual fund was nearly twice as expensive as the average mutual fund

held by plans over $1 billion in assets.




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       81.    There were superior options available to the Plan in 2009 other than the

BB&T mutual funds that would have offered comparable or superior investment services

at a lower cost. Alternatively, given the recognized efficiency of domestic equity and

bond markets, Defendants could have replaced the BB&T funds with index funds at 5%

or less of the cost of the BB&T funds. Had Defendants prudently monitored the Plan

investments in a process that was not tainted with self-interest, they would have removed

the BB&T mutual funds and invested in lower-cost investment options, saving plan

participants millions of dollars per year.

       82.    BB&T Mid Cap Growth and BB&T Small Cap ceased operations in

February 2010, and the assets invested in those funds were transferred into other

proprietary funds. Around the same time, the BB&T mutual funds were re-branded as

Sterling Capital funds; Sterling Capital is a wholly owned subsidiary of BB&T. By the

end of 2010, five proprietary domestic equity funds remained in the Plan: Sterling Capital

Mid Value, Sterling Capital Small Cap Value (replacing BB&T Small Cap), Sterling

Capital Select Equity (renamed from BB&T Large Cap), Sterling Capital Equity Income,

and Sterling Capital Special Opportunities. These five funds had expense ratios between

0.84% and 1.20%. The only international offering in the Plan was Sterling Capital

International, which had an expense ratio of 1.53%. The only bond fund in the Plan was

the Sterling Capital Total Return Bond Fund, which had an expense ratio of 0.71%. Each

fund’s expenses greatly exceeded the average expense ratio of comparable mutual funds

within retirement plans with over $1 billion in assets.     See ICI Study at 46.     Had


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Defendants prudently monitored Plan investments in a process not tainted by self-interest,

they would have removed the Sterling Capital funds from the Plan and chosen lower-cost

alternatives with comparable or superior performance, saving Plan participants millions

of dollars per year.

       83.    The Sterling International Fund was removed from the Plan in January

2012 when it ceased operations, leaving the five Sterling Capital domestic equity funds

and the Sterling Capital bond fund as the remaining proprietary mutual funds in the Plan.

       84.    Defendants have kept each of these six proprietary investments in the Plan

to the present date. Their expense ratios have declined slightly—as of the end of 2014

the equity funds had expense ratios between 0.81% and 0.99% while the bond fund had

an expense ratio of 0.56%—but these expense ratios remain as disproportionately

excessive as they were in 2009. As of the end of 2012, the most recent data available to

Plaintiffs, in retirement plans with over $1 billion in assets, the average domestic equity

mutual fund had an expense ratio of 0.48%, and the average domestic bond fund had an

expense ratio of 0.35%. ICI Study at 45. The Sterling Capital Funds are therefore

between 69 and 106 percent more expensive than the average fund held by plans of

BB&T’s size. By keeping the Plan invested in these high-cost mutual funds, Defendants

have breached their ongoing duty to monitor Plan investments and to remove investments

that are no longer prudent. Had they honored their fiduciary duties of prudence and

loyalty to Plan participants, they would have removed these funds and selected lower cost

alternatives, saving Plan members millions of dollars per year.


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      85.    Defendants’ imprudence is underscored by the fact that Sterling Capital

offers many of the same investment products in the broader marketplace for far lower

fees. Sterling Capital advertises itself to the public as an institutional money manager

that manages separate accounts for institutions and investors that meet certain account

minimums. See Sterling Capital ADV at 10–12 (attached to Complaint as Exhibit G).

Sterling Capital advertises this institutional money management at rates much lower than

those paid by Plan participants in the Sterling Capital mutual funds. (Id.) For example,

at the end of 2014 the Plan had $222 million invested in the Sterling Capital Special

Opportunities Fund, as shown in the Plan’s 11-K report for 2014, excerpts of which are

attached to the complaint as Exhibit H. For Plan participants, the expense ratio for the

Sterling Capital Special Opportunities Fund in 2014 was 0.96%, meaning Plan

participants invested in this fund paid approximately $2.14 million in expenses in 2014.

Sterling Capital advertises institutional management of “Special Opportunities

Portfolios” (that presumably mirror the portfolio of the Special Opportunities mutual

fund) at the following rates: 0.70% on the first $25 million; 0.60% on the next $25

million; 0.50% on the next $25 million; and 0.40% on all incremental assets above $75

million. (Ex. G at 12.) Had the Plan negotiated with Sterling Capital at arms’ length to

manage the money invested in the Special Opportunities Fund ($222 million) at these

rates within a collective investment trust or a separate account, Plan participants would

have paid approximately $1.04 million in investment management expenses in 2014, less




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than half of the $2.14 million that Plan participants paid within the Special Opportunities

mutual fund.

        86.    Comparable levels of savings were available for every Sterling Capital fund

within the Plan. Plaintiffs estimate that had the assets in the Plan invested in Sterling

Capital mutual funds been managed at the institutional investor rates advertised by

Sterling Capital for separate accounts, Plan participants would have paid at least $4.06

million less in investment management expenses in 2014 alone.

        87.    Even these metrics likely understate the Plan’s true losses. Given the large

amount of assets the Plan had in each fund, the Plan should have negotiated a much lower

management fee than that advertised by Sterling Capital. Had Defendants honored their

fiduciary duties to Plan participants, rather than furthering BB&T’s bottom line, and

engaged in an arms-length negotiation over the price of investment services, rather than

simply investing in the Sterling Capital mutual funds, Defendants would have negotiated

investment management expenses two to three times lower than Plan participants actually

paid, saving Plan participants tens of millions of dollars.

IV.     DEFENDANTS FAILED TO ADEQUATELY MONITOR PLAN INVESTMENTS AND
        REMOVE POORLY PERFORMING INVESTMENTS

        A.     Defendants Failed to Remove the BB&T Large Cap Fund Despite
               Persistently Poor Performance Dating Back to Its Inception

        88.    In 2009, the Plan had approximately $150 million invested in what at the

time was called the BB&T Large Cap Fund, ticker BBISX (hereinafter the “Large Cap

Value Fund”). Ex. B at 7. Viewed from the perspective of the beginning of the statutory


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period in 2009, the Large Cap Value Fund had a track record of poor performance that

warranted its removal.    Attached as Exhibit I of the Complaint is portfolio and

performance data regarding the Large Cap Value Fund, provided by Morningstar, as of

June 30, 2009, which offers the perspective from which Defendants were viewing the

Large Cap Value Fund six years ago. The Large Cap Value Fund was, and still is,

classified as a large company value fund, and therefore its performance is properly

compared to that of the Russell 1000 Value Index, an index of large company value

stocks. The report shows that as of June 30, 2009, over the prior 3-year, 5-year, and 10-

year periods, the Large Cap Value Fund had underperformed its benchmark index by

roughly 2% per year. See Exhibit I. The Large Cap Value Fund had underperformed its

benchmark index six of the past seven calendar years between 2002 and 2008, and was

on pace to underperform its benchmark index again in 2009. Id. This placed the Large

Cap Value Fund among the bottom 17 percent of large company value funds over the

prior 3-year, 5-year, and 10-year periods.      Id.   Given the fund’s consistently poor

performance, a prudent investor acting exclusively in the interests of Plan participants

would have removed the Large Cap Value Fund from the Plan in late 2009. Defendants

did not take this action. By the end of 2010, the Plan had approximately $154 million in

assets in the Large Cap Value Fund. (Ex. C at 8.)

      89.    In February 2010, the Large Cap Value Fund was renamed the Sterling

Capital Select Equity Fund. The name change did nothing to halt the fund’s terrible

performance. Attached as Exhibit J of the Complaint is portfolio and performance data


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regarding the Large Cap Value Fund, provided by Morningstar, as of June 30, 2012,

which offers roughly the perspective from which Defendants would have been viewing

the fund three years ago. The Large Cap Value Fund underperformed its benchmark

index by approximately seven percent in 2009, three percent in 2010, and six percent in

2011, and was on pace to underperform its benchmark index again in 2012. Given this

poor performance, viewed in light of the fund’s terrible performance historically, had

Defendants been prudently monitoring the investments within the Plan in a manner not

tainted with self-interest, they would have removed the Large Cap Value Fund from the

Plan by 2012. Instead, Defendants retained the Large Cap Value Fund in the Plan, and

by the end of 2012, the Plan had approximately $167 million invested in the Large Cap

Value Fund. (Ex. E at 7.)

        90.   In September 2013, the Large Cap Value Fund’s name was changed once

again, this time to the Sterling Capital Behavioral Large Cap Value Equity Fund. As

David Snowball, publisher of the Mutual Fund Observer website, wrote at the time:

        Sterling Capital Select Equity has been a determinedly bad fund for
        years. It’s had three managers since 1993 and it has badly trailed its
        benchmark under each of them.            The strategy is determinedly
        nondescript. They’ve managed to return 3.2% annually over the past 15
        years. That’s better – by about 50 bps – than Vanguard’s money market
        fund, but not by much. Effective September 3, 2013, they’re hitting
        “reformat.”

David     Snowball,    September    1,   2013,    Mutual     Fund    Observer       Blog,

http://www.mutualfundobserver.com/2013/09/september-1-2013/ (last accessed Aug. 17,




                                          39


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2015) (emphasis added). As of the end of 2014, the Plan had $228 million invested in the

Large Cap Value Fund.

       91.     Plan participants have suffered greatly as a result of Defendants’ failure to

remove the Large Cap Value Fund from the Plan.             Attached as Exhibit K to the

Complaint is a hypothetical illustration prepared using data and software from

Morningstar.     The illustration shows the investment results of retaining the fund,

compared with two likely investment alternatives. This illustration covers the period

from the end of 2009 through the end of August 2015, and looks at three possible

scenarios for investment of the $153,818,747 held in the Large Cap Value Fund (shown

in the illustration as the Sterling Capital Behavioral Large Cap Value Equity Fund) at the

end of 2009. The first scenario assumes the Plan retained the Large Cap Value Fund in

2009. The second scenario assumes investment in a large cap value index fund, the

Vanguard Value Index Fund. The third scenario assumes the Plan invested in the Dodge

& Cox Stock Fund, which as of October 2010 was the most commonly held large

company value equity fund in 401(k) plans in the United States, and therefore would

appear to be a likely alternative to the Large Cap Value Fund. InvestmentNews, The Top

10 Funds in the 401(k) Marketplace by Total Distribution (Oct. 4, 2010),

http://www.investmentnews.com/article/20101004/CHART/101009980              (last   accessed

Aug. 17, 2015).     All three scenarios assume that $613,000 is withdrawn on a monthly

basis, to approximate the net withdrawals from the Large Cap Value Fund that have

occurred over the past six years.


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       92.    Exhibit K shows that under the first scenario, where the fund is retained,

the balance in the Large Cap Value Fund as of August 2015 was approximately $210.9

million. (Ex. K at 1, 2.) Under the second scenario, where the fund is removed at the end

of 2009 and replaced with the Vanguard Value Index Fund, the balance at the end of July

2015 would have been $235.7 million. (Ex. K at 1, 3.) Under the third scenario, where

the fund is removed at the end of 2009 and replaced with the Dodge & Cox Stock Fund,

the balance at the end of July 2015 would have been $242.5 million. (Ex. K at 1, 4.)

According to the hypothetical illustration, Defendants’ breach of their fiduciary duties in

retaining the Large Cap Value Fund has caused at least $24.8 to $31.6 million in damages

to Plan participants.

       B.     Defendants Failed to Remove the Imprudent Money Market Fund
              Despite Expenses Twenty Times Higher than the Fund’s Negligible
              Yield

       93.    In 2009, the Plan had approximately $138 million invested in the Federated

Treasury Obligations Fund, fund ticker TOIXX, a money market fund (hereinafter the

“Money Market Fund”). (Ex. B at 8.) Money market funds invest in ultra-short-duration

fixed-income investments to provide high levels of liquidity. Michael Chamberlain, CFP,

Your   401(k):    Money    Market    vs.   Stable   Value,   Forbes    (Oct.   11,   2011),

http://www.forbes.com/sites/feeonlyplanner/2011/10/11/whats-in-your-401k/             (last

accessed Aug. 18, 2015).

       94.    Though money market funds may have historically provided yields of one

to three percent, money market yields plummeted following the recent financial crisis.


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As a result, the Money Market Fund yielded only 0.10% in 2009, 0.02% in 2010, and

0.01% in 2011 and every year thereafter. The only one profiting from the Money Market

Fund appears to be its managers. In 2014, the Money Market Fund charged management

fees of 0.20% of total assets, which is twenty times higher than the Money Market Fund’s

actual yield.

         95.    Unlike equity investments, where future results may be difficult to predict,

a money market fund’s likely returns can be accurately gauged based upon the fund’s

current yield. Defendants have therefore been aware since as early as 2009 of the

likelihood that the Money Market Fund would produce these incredibly low returns going

forward.

         96.    The money invested in the Money Market Fund should have instead been

invested in a stable value fund.       Stable-value funds are only available in defined

contribution plans and some college savings plans. Stable Value Investment Association,

Stable               Value             Investment             Assocation              FAQ,

http://stablevalue.org/knowledge/faqs/question/why-cant-i-find-a-stable-value-

investment-option-for-my-ira (last accessed Aug. 19, 2015). Stable value funds invest in

a diversified portfolio of fixed income securities that are “protected from interest-rate

volatility through contracts with banks or insurance companies in which the financial

institution agrees to protect the fund’s principal and guarantees a rate of return over a

given time period even if the underlying portfolio of investments loses money.” Adam

Zoll, For Safety-First Savers, Stable-Value Funds are Tough to Beat, Morningtar Short


                                             42


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Answer                Blog                 (April               16,               2013),

http://ibd.morningstar.com/article/article.asp?id=592164&CN=brf295,http://ibd.mornings

tar.com/archive/archive.asp?inputs=days=14;frmtId=12,%20brf295 (last accessed Aug.

19, 2015).

      97.    Because they are able to hold a broader array of debt securities than a

money market fund, stable value funds produce superior returns to money market funds.

In 2011, when money market yields had dropped to an average of 0.03%, stable value

funds were earning 2.5% to 3%. Chamberlain, supra, Money Market v. Stable Value. A

2011 study from Wharton Business School analyzed money market and stable-value fund

returns from the previous two decades and concluded that “any investor who preferred

more wealth to less wealth should have avoided investing in money market funds when

[stable value] funds were available, irrespective of risk preferences.” David F. Babbel &

Miguel A. Herce, Stable Value Funds: Performance to Date, at 16 (Jan. 1, 2011),

available at http://fic.wharton.upenn.edu/fic/papers/11/11-01.pdf (last accessed Aug. 19,

2015). Given the superior yields offered by stable value funds at comparable levels of

risk, large 401(k) plans overwhelmingly choose stable value funds over money market

funds. Chris Tobe, CFA, Do Money-Market Funds Belong in 401(k)s?, MarketWatch

(Aug. 30, 2013), available at http://www.marketwatch.com/story/do-money-market-

funds-belong-in-401ks-2013-08-30 (last accessed Aug. 19, 2015). “With yields hovering

around 0%, money-market funds aren’t a prudent choice for a 401(k).” Id. Therefore,

had Defendants honored their fiduciary duties by conducting a prudent review of the


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Plan’s investments and subsequently removing imprudent investments from the Plan,

Defendants would have removed the Money Market Fund from the Plan.

       98.    Plan participants have suffered greatly as a result of Defendants’ failure to

remove the Money Market Fund from the Plan. Attached as Exhibit L to the Complaint

is a hypothetical illustration prepared using data and software from Morningstar. The

illustration shows the investment results of retaining the Money Market Fund, compared

with three likely investment alternatives. This illustration covers the period from the end

of 2009 through the end of June 2015,3 and looks at four possible scenarios for

investment of the approximately $138.6 million held in the Money Market Fund at the

end of 2009. The first scenario assumes the Plan retained the fund. The second scenario

assumes investment in the T. Rowe Price Stable Value Fund. The third scenario assumes

investment in the Wells Fargo Stable Value Fund.           The fourth scenario assumes

investment in the Morley Stable Value Fund. The Wells Fargo Stable Value Fund was

offered by the Plan in 2012, but had been eliminated by the end of 2013. (Compare Ex.

E at 8 (showing assets invested in Wells Fargo Stable Value Fund) with Ex. H at 4–5

(showing that Wells Fargo Stable Value Fund was no longer held by the Plan).) The

Morley Stable Value Fund has been offered as an investment option in the Plan since

2012. (See Ex. E at 8; Ex. H at 5.) Their prior inclusion in the Plan makes the stable

value funds from Morley and Wells Fargo plausible alternatives to the Money Market


3
 Performance data for certain of the stable-value funds analyzed in this hypothetical is
only updated quarterly.

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Fund. The T. Rowe Price Stable Value Fund appears plausible both because the Plan

already offered a number of investment options from T. Rowe Price, and because the T.

Rowe Price Stable Value Fund is the fifth most commonly held stable value fund within

401(k) plans in the United States. Yahoo! Finance, Top 20 Stable Value Funds Held in

America’s 401k Plans (Nov. 14, 2011), http://finance.yahoo.com/news/brightscope-

reveals-top-20-stable-140000654.html (last accessed Aug. 19, 2015).      The illustration

assumes that $705,029 is withdrawn from each of the four investments on a monthly

basis, from January 2010 through June 2015, to approximate the net withdrawals from

the Money Market Fund that occurred during this period. (See Ex. L at 2–6; compare Ex.

B at 8 (showing that approximately $138.6 million was invested in the Money Market

Fund as of December 31, 2009) with Ex. H at 4 (showing a balance of $96 million in the

Money Market Fund as of December 31, 2014).)

      99.    Exhibit L shows that under the first scenario, in which the Plan continued

to hold the Money Market Fund, the balance as of the end of June 2015 was

approximately $92.1 million. (Ex. L at 1, 2.) The illustration shows that under the

second scenario, had the Plan removed the Money Market Fund at the end of 2009 and

transferred those assets into the T. Rowe Price Stable Value Fund, the balance at the end

of June 2015 would have been $113.4 million. (Id. at 1, 3.) Under the third scenario, had

the Plan transferred out of the Money Market Fund and into the Wells Fargo Stable Value

Fund, the balance at the end of June 2015 would have been $105.3 million. (Id. at 1, 4.)

Finally, turning to the fourth scenario, had the Plan removed the Money Market Fund and


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transferred the balance to the Morley Stable Value Fund, the balance at the end of June

2015 would have been $102.6 million. (Id. at 1, 5.) According to the hypothetical

illustration, Defendants’ breach of their fiduciary duties in retaining the Money Market

Fund has caused at least $10.5 to $21.3 million in damages to Plan participants.

       C.     Defendants Failed to Remove the Imprudent BB&T Deposit Account
              from the Plan

       100.   At the end of 2009, the Plan held approximately $120 million in the BB&T

1-Year Bank Investment Contract (a/k/a BB&T Associate Insured Deposit) (hereinafter

the “Deposit Account”). This investment earns Plan participants a fixed interest rate that

resets each month. The interest rate credited is set based upon market yields of United

States Treasury Notes having a one-year maturity. (Ex. E at 7–8.) BB&T profits from

the Deposit Account because the company earns fees for administration of the account

and may retain investment earnings when the average yield of the contract’s underlying

investments exceed the credited interest rate earned by Plan participants.

       101.   Given the availability of stable value funds to the Plan, it was imprudent for

the Plan to retain its investment in the Deposit Account. In 2009 and 2010, the Deposit

Account earned 1.4% interest. The interest rate in the Deposit Account was 0.77% in

2011, 0.67% in 2012, 0.64% in 2013, and 0.61% in 2014. These earnings were one-third

to one-half of what Plan participants would have earned in a stable value fund. See Ex. L

at 7–9 (showing annual returns generally two to three times higher in the T. Rowe Price,

Wells Fargo, and Morley stable value funds).           Had Defendants monitored Plan

investments and removed imprudent investments in accordance with their fiduciary duties

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in a process that was not tainted by self-interest, Defendants would have removed the

Deposit Account from the Plan as early as 2009. Plan participants have suffered millions

of dollars in damages as a result of Defendants’ breach of their fiduciary duties.

V.     PLAINTIFFS HAVE SUFFERED DAMAGES AS A RESULT OF EACH FORM OF
       MISCONDUCT IDENTIFIED IN THE COMPLAINT

       102.   Plaintiffs have suffered from the breaches of fiduciary duties and other

unlawful conduct identified in Sections I through IV above through their investment in

various investment options within the Plan.

       103.   Plaintiff Burke Bowers (“Bowers”) was a participant in the Plan from on or

before 2009 through mid-2013. During that time, he at various times had funds invested

in the BB&T/Sterling Capital Total Return Bond Fund, the BB&T/Sterling Capital Mid

Value Fund, the BB&T Small Cap Fund, the Sterling Capital Small Cap Value Fund, the

BB&T/Sterling Capital Special Opportunities Fund, and the Sterling Capital Equity

Income Fund. Because the value of his account when he cashed out of the Plan was less

than it would have been had Defendants honored their fiduciary duties, Bowers has

statutory and Article III standing to bring the present action. In re Mutual Funds Inv.

Litig., 529 F.3d 207, 215–19 (4th Cir. 2008).

       104.   Plaintiff Robert Sims (“Sims”) was a participant in the Plan from on or

before 2009 until mid-2013. During that time, he was at various times invested in the

BB&T Mid Cap Growth Fund, the BB&T/Sterling Capital International Equity Fund, the

BB&T/Sterling Capital Mid Value Fund, and the T. Rowe Price Retirement 2010 Fund.

Because the value of his account when he cashed out of the Plan was less than it would

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have been had Defendants honored their fiduciary duties, Sims has statutory and Article

III standing to bring the present action. In re Mutual Funds Inv. Litig., 529 F.3d at 215–

19.

        105.   Plaintiff Erik Gavidia has been a participant in the Plan from on or before

2009 to the present. During that time, he has at various times had funds invested in the

BB&T/Sterling Capital Total Return Bond Fund, the BB&T Mid Cap Growth Fund, the

BB&T Large Cap Fund (a/k/a Sterling Capital Select Equity or Sterling Capital

Behavioral Large Cap Value Equity Fund), the BB&T/Sterling Capital International

Equity Fund, the BB&T/Sterling Capital Mid Value Fund, the T. Rowe Price Retirement

Income Fund, and the Federated Treasury Obligations Fund (the Money Market Fund).

As a result, Plaintiff Erik Gavidia has statutory and Article III standing to bring the

present action.

        106.   Plaintiff Stephanie Gavidia was a participant in the Plan from on or before

2009 until 2014. During that time, she has at various times had funds invested in the

BB&T 1-Year Bank Investment Contract (a/k/a BB&T Associate Insured Deposit), the

Federated Treasury Obligations Fund (the Money Market Fund), the BB&T/Sterling

Capital Total Return Bond Fund, the T. Rowe Price Retirement Income Fund, the BB&T

Large Cap Fund (a/k/a Sterling Capital Select Equity or Sterling Capital Behavioral

Large Cap Value Equity Fund), the BB&T/Sterling Capital Special Opportunities Fund,

the BB&T/Sterling Capital Mid Value Fund, and the BB&T/Sterling Capital International

Equity Fund. Because the value of her account when she cashed out of the Plan was less


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than it would have been had Defendants honored their fiduciary duties, Plaintiff

Stephanie Gavidia has statutory and Article III standing to bring the present action. In re

Mutual Funds Inv. Litig., 529 F.3d at 215–19.

       107.   Plaintiff Stacy Holstein (“Holstein”) was a participant in the Plan from on

or before 2009 until October 2013. During that time, she has at various times been

invested in the BB&T 1-year Bank Investment Contract account (a/k/a BB&T Associate

Insured Deposit), the BB&T/Sterling Capital Total Return Bond Fund, the T. Rowe Price

Retirement Income Fund, the T. Rowe Price Retirement 2040 Fund, the BB&T/Sterling

Capital Special Opportunities Fund, the BB&T/Sterling Capital Equity Income Fund, the

T. Rowe Price Mid Cap Growth Fund, and the BB&T/Sterling Capital Small Cap Value

Fund. Because the value of her account when she cashed out of the Plan was less than it

would have been had Defendants honored their fiduciary duties, Holstein has statutory

and Article III standing to bring the present action. In re Mutual Funds Inv. Litig., 529

F.3d at 215–19.

       108.   Plaintiff Jeffrey Stauffer (“Stauffer”) was a participant in the Plan from on

or before 2009 until late 2013. During that time, he has at various times been invested in

the BB&T 1-Year Bank Investment Contract (a/k/a BB&T Associate Insured Deposit),

the BB&T/Sterling Capital Total Return Bond Fund, the T. Rowe Price Retirement 2040

Fund, the BB&T/Sterling Capital Equity Income Fund, and the BB&T/Sterling Capital

Special Opportunities Fund. Because the value of his account when he cashed out of the

Plan was less than it would have been had Defendants honored their fiduciary duties,


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Stauffer has statutory and Article III standing to bring the present action. In re Mutual

Funds Inv. Litig., 529 F.3d at 215–19.

       109.   Plaintiff Kerri Greaner (“Greaner”) was a participant in the Plan from on or

before 2009 to the present. During that time, she has at various times had funds invested

in the Federated Treasury Obligations Fund (the Money Market Fund), the BB&T 1-year

Bank Investment Contract account (a/k/a BB&T Associate Insured Deposit), and the T.

Rowe Price Mid Cap Growth Fund. As a result, Plaintiff Kerri Greaner has statutory and

Article III standing to bring the present action.

       110.   Plaintiffs did not have actual knowledge of any of the foregoing breaches of

fiduciary duty or other unlawful conduct in violation of ERISA until Defendants’

misconduct was uncovered shortly before this action was filed.           Defendants have

concealed their illegal conduct by, among other actions, making false and misleading

statements on Plan participants’ quarterly statements that BB&T was paying all

administrative expenses associated with operation of the Plan and that no administrative

expenses were being deducted from participants’ accounts.

                           CLASS ACTION ALLEGATIONS

       111.   Plaintiffs bring this action pursuant to Rule 23 on behalf of the classes of

persons described herein,4 and on behalf of the Plan.



4
  Plaintiffs reserve the right to revise their class definitions, and to propose other or
additional classes in subsequent pleadings or their motion for class certification, after
discovery in this action.

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      112.   Plaintiffs Burke Bowers, Robert Sims, Erik Gavidia, Stephanie Gavidia,

Stacy Holstein, Jeffrey Stauffer, and Kerri Greaner assert Counts I–IV against

Defendants on behalf of an “Indirect Compensation Class” defined as follows:

             Indirect Compensation Class: All participants and beneficiaries of
             the Plan whose accounts were invested in mutual funds from which
             revenue sharing payments and/or indirect compensation were paid to
             BB&T at any time on or after September 4, 2009. Excluded from
             this class are Defendants, other employees with responsibility for the
             Plan’s investment or administrative functions, and members of the
             BB&T Board of Directors.

      113.   Plaintiffs Burke Bowers, Robert Sims, Erik Gavidia, Stephanie Gavidia,

Stacy Holstein, and Jeffrey Stauffer assert Counts I–IV against Defendants on behalf of a

“BB&T/Sterling Capital Funds Class” defined as follows:

             BB&T/Sterling Capital Funds Class:           All participants and
             beneficiaries of the Plan whose accounts were invested in shares of
             mutual funds within the BB&T or Sterling Capital fund families on
             or after September 4, 2009. Excluded from this class are
             Defendants, other employees with responsibility for the Plan’s
             investment or administrative functions, and members of the BB&T
             Board of Directors.

      114.   Plaintiffs Erik Gavidia and Stephanie Gavidia assert Counts I–IV against

Defendants on behalf of a “Large Cap Value Class” defined as follows:

             Large Cap Value Class: All participants and beneficiaries of the
             Plan whose accounts were invested in shares of the BB&T Large
             Cap Fund (a/k/a Sterling Capital Select Equity Fund and Sterling
             Capital Behavioral Large Cap Value Equity Fund) on or after
             September 4, 2009. Excluded from this class are Defendants, other
             employees with responsibility for the Plan’s investment or
             administrative functions, and members of the BB&T Board of
             Directors.



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       115.     Plaintiffs Erik Gavidia, Stephanie Gavidia, and Kerri Greaner assert Count

I against Defendants on behalf of a “Money Market Class” defined as follows:

                Money Market Class: All participants and beneficiaries of the Plan
                whose accounts were invested in shares of the Federated Treasury
                Obligations Fund on or after September 4, 2009. Excluded from this
                class are Defendants, other employees with responsibility for the
                Plan’s investment or administrative functions, and members of the
                BB&T Board of Directors.

       116.     Plaintiffs Stephanie Gavidia, Stacy Holstein, Jeffrey Stauffer, and Kerri

Greaner assert Counts I–IV against Defendants on behalf of a “Deposit Account Class”

defined as follows:

                Deposit Account Class: All participants and beneficiaries of the
                Plan whose accounts were invested in shares of the BB&T 1-Year
                Bank Investment Contract (a/k/a BB&T Associate Insured Deposit)
                on or after September 4, 2009. Excluded from this class are
                Defendants, other employees with responsibility for the Plan’s
                investment or administrative functions, and members of the BB&T
                Board of Directors.

       117.     Numerosity: The Classes are so numerous that joinder of all Class

members is impracticable. The Plan has had between approximately 27,000 and 32,000

participants during the applicable statutory period. Based upon the investment balances

in each investment within the Plan, each Class contains at least several thousand Plan

participants.

       118.     Typicality:   Plaintiffs’ claims are typical of the Class members’ claims.

Like other Class members, Plaintiffs are current or former participants in the Plan, who

have suffered injuries as a result of Defendants’ mismanagement of the Plan. Defendants

treated Plaintiffs consistently with other class members with regard to the Plan.
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Defendants managed the Plan as a single entity, and therefore Defendants’ imprudent

decisions affected all Plan participants similarly.

       119.   Adequacy:      Plaintiffs will fairly and adequately protect the interests of the

Classes, as their interests are aligned with the Classes that they seek to represent and they

have retained counsel experienced in complex class action litigation. Plaintiffs do not

have any conflicts of interest with any Class members that would impair or impede their

ability to represent such Class members.

       120.   Commonality: Common questions of law and fact exist as to all Class

members and predominate over any questions solely affecting individual Class members,

including but not limited to:

              a. Whether Defendants breached their duties of prudence and loyalty
                 by failing to adequately monitor and control the Plan’s
                 administrative costs;

              b. Whether the indirect compensation and/or revenue sharing payments
                 received by BB&T exceeded reasonable compensation for the
                 services provided, thus constituting a prohibited transaction with a
                 fiduciary and party-in-interest under 29 U.S.C. § 1106;

              c. Whether the collection of indirect compensation/revenue sharing
                 payments by BB&T in excess of the cost of the services provided to
                 the Plan constitutes an illegal inurement of benefit to the Plan
                 sponsor in violation of 29 U.S.C. § 1103 and/or constitutes a
                 prohibited transaction under 29 U.S.C. § 1106;

              d. Whether Defendants breached their duties of prudence and loyalty
                 by failing to monitor and remove the Plan’s investments in
                 BB&T/Sterling Capital Funds;

              e. Whether the expenses paid by participants invested in the
                 BB&T/Sterling Capital Funds exceeded that which was reasonable


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                 and constituted a prohibited transaction with a fiduciary and a party-
                 in-interest under 29 U.S.C. § 1106;

             f. Whether Defendants failed to exercise appropriate skill, care,
                loyalty, and diligence by failing to investigate and attempt to
                negotiate lower-cost alternatives to the BB&T/Sterling Capital
                Funds;

             g. Whether Defendants breached their duty to monitor plan investments
                and remove imprudent investments by failing to remove the Large
                Cap Value Fund;

             h. Whether Defendants breached their duty to monitor plan investments
                and remove imprudent investments by failing to remove the Money
                Market Fund;

             i. Whether Defendants breached their duty to monitor plan investments
                and remove imprudent investments by failing to remove the Deposit
                Account;

             j. The proper measure of monetary relief; and

             k. The proper form of equitable and injunctive relief.

      121.   Class certification is appropriate under Fed. R. Civ. P. 23(b)(1)(A) because

prosecuting separate actions against Defendants would create a risk of inconsistent or

varying adjudications with respect to individual class members that would establish

incompatible standards of conduct for the party opposing the class. Separate lawsuits

would establish incompatible standards to govern Defendants’ conduct as fiduciaries.

      122.   Class certification is also appropriate under Fed. R. Civ. P. 23(b)(1)(B)

because adjudications with respect to individual class members, as a practical matter,

would be dispositive of the interests of the other members not parties to the individual

adjudications or would substantially impair or impede their ability to protect their


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interests. Any award of equitable relief by the Court such as removal of particular Plan

investments or removal of a plan fiduciary would be dispositive of non-party participants’

interests. The accounting and restoration of the property of the Plan that would be

required under 29 U.S.C. §§ 1109 and 1132 would be similarly dispositive of the interests

of other Plan participants.

       123.   Class certification is also appropriate under Fed. R. Civ. P. 23(b)(3)

because questions of law and fact common to the Classes predominate over any questions

affecting only individual Class members, and because a class action is superior to other

available methods for the fair and efficient adjudication of this litigation. Defendants’

conduct described in this Complaint applied uniformly to all members of the Classes.

Class members do not have an interest in pursuing separate actions against Defendants, as

the amount of each Class member’s individual claims is relatively small compared to the

expense and burden of individual prosecution, and Plaintiffs are unaware of any similar

claims brought against Defendants by any Class members on an individual basis. Class

certification also will obviate the need for unduly duplicative litigation that might result

in inconsistent judgments concerning Defendants’ practices. Moreover, management of

this action as a class action will not present any likely difficulties. In the interests of

justice and judicial efficiency, it would be desirable to concentrate the litigation of all

Class members’ claims in a single forum.




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                                       COUNT I
                        Breach of Duties of Loyalty and Prudence
                             29 U.S.C. § 1104(a)(1)(A)–(B)
                            Asserted on Behalf of All Classes

      124.      29 U.S.C. § 1104 imposes the fiduciary duties of prudence and loyalty upon

Defendants in their administration of the Plan and in their selection and monitoring of

Plan investments.

      125.      As described throughout the Complaint, Defendants BB&T, the Board,

EBPC, Reeder, Powell, and John Does 1–20 breached their fiduciary duties of prudence

and loyalty related to non-investment administration of the Plan by failing to take

reasonable steps to manage administrative costs of the Plan. These Defendants hired

BB&T as the provider of all major services to further the profit of BB&T without

engaging in an objective, competitive process to hire the lowest cost providers. These

Defendants also failed to take prudent steps to monitor and control administrative costs

on an ongoing basis, such as hiring a consultant to conduct a benchmarking study,

submitting an RFI and RFP to other service providers to solicit information and

competitive bids, and hiring those service providers with the most competitive pricing

and services.

      126.      As described throughout the Complaint, Defendants BB&T, the Board, the

Compensation Committee, Howe, Cablik, Welch, Kendrick, Lynn, Rich, and John Does

21–40 breached their fiduciary duties of prudence and loyalty with respect to selection

and management of the Plan’s investment options by, inter alia:

                a. Selecting and retaining investments in the Plan because they were

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                 affiliated with BB&T, and therefore would generate more revenue for
                 BB&T;

              b. Selecting and maintaining mutual funds in the Plan based upon their
                 willingness to pay revenue sharing and/or indirect compensation to
                 BB&T, rather than selecting lower-cost investments that may not have
                 been willing to pay revenue sharing;

              c. Negotiating large revenue sharing payments from Sterling Capital
                 Funds in lieu of attempting to negotiate lower investment management
                 expenses or refunding larger portions of investment management
                 expenses to Plan participants;

              d. Failing to monitor Plan investments and explore whether the investment
                 management services provided by Sterling Capital could be provided at
                 lower cost, despite the fact that Sterling Capital advertised those
                 services to institutional investors at rates much lower than Plan
                 participants were paying through the Sterling Capital Funds;

              e. Failing to conduct a prudent and objective review of the Plan’s
                 investments and failing to remove the imprudent Large Cap Value Fund
                 from the Plan;

              f. Failing to conduct a prudent and objective review of the Plan’s fixed
                 investments, specifically the Money Market Fund and Deposit Account,
                 and failing to remove these imprudent investments from the Plan;

       127.   BB&T is liable as a co-fiduciary under 29 U.S.C. § 1105 given the Board’s

authority to appoint and remove members of the EBPC and the Compensation

Committee, its knowledge of each Defendant’s breach of fiduciary duties, and its failure

to exercise its authority to take reasonable steps to prevent these breaches.

       128.   Each Defendant performing non-investment-related duties also knowingly

participated in the breaches of the other Defendants performing such duties, knowing that

other Defendants were breaching their fiduciary duties, and enabling commission of these




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breaches by failing to lawfully discharge their own fiduciary duties or make any

reasonable effort under the circumstances to remedy other Defendants’ breaches.

       129.   Each Defendant performing investment-related duties also knowingly

participated in the breaches of the other Defendants performing such duties, knowing that

other Defendants were breaching their fiduciary duties, and enabling commission of these

breaches by failing to lawfully discharge their own fiduciary duties or make any

reasonable effort under the circumstances to remedy other Defendants’ breaches.

       130.   Each Defendant is personally liable, and Defendants are jointly and

severally liable, under 29 U.S.C. §§ 1109(a), 1132(a)(2), and (a)(3), to make good to the

Plan the losses resulting from the aforementioned breaches, to restore to the Plan any

profits Defendants made through the use of Plan assets, and to restore to the Plan any

profits resulting from the breaches of fiduciary duties alleged in this Count.

       131.   On behalf of the Plan, Plaintiffs also seek appropriate equitable relief

pursuant to 29 U.S.C. § 1132(a)(3) (as described in the Prayer for Relief), recovery of

pre-judgment interest, see Quesinberry v. Life Ins. Co. of N. Am., 987 F.2d 1017, 1030–

31 (4th Cir. 1993); Meyer v. Berkshire Life Ins. Co., 250 F. Supp. 2d 544, 574 (D. Md.

2003), and attorney fees and costs pursuant to 29 U.S.C. § 1132(g).




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                                     COUNT II
                   Prohibited Transactions with Party in Interest
                               29 U.S.C. §§ 1106(a)(1)
         Asserted on Behalf of the Indirect Compensation Class, the BB&T/Sterling
       Capital Funds Class, the Large Cap Value Class, and the Deposit Account Class

       132.   BB&T and Sterling Capital are parties in interest under 29 U.S.C. §§

1106(a)(1).

       133.   As described throughout the Complaint, Defendants BB&T, the Board, the

Compensation Committee, Howe, Cablik, Welch, Kendrick, Lynn, Rich, and John Does

21–40 caused the Plan to use Sterling Capital Funds and the Deposit Account as

investment options when those transactions constituted a direct or indirect furnishing of

services between the Plan and a party in interest for more than reasonable compensation

and a transfer of assets of the Plan to a party in interest.

       134.   As described throughout the Complaint, Defendants BB&T, the Board, the

Compensation Committee, Howe, Cablik, Welch, Kendrick, Lynn, Rich, and John Does

21–40 caused the Plan to negotiate revenue sharing and/or indirect compensation

arrangements with investment managers hired to manage Plan assets knowing that the

payments greatly exceeded the value of services provided by BB&T to the Plan and

therefore constituted a prohibited transaction under 29 U.S.C. § 1106(a)(1).

       135.   As described throughout the Complaint, Defendants BB&T, EBPC, Reeder,

Powell, and John Does 1–20 caused the Plan to hire BB&T as trustee and recordkeeper

when they knew or should have known BB&T would receive compensation for these

services directly or indirectly from Plan assets, and knew or should have known it

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constituted a direct or indirect furnishing of services between the Plan and a party in

interest for more than reasonable compensation and a transfer of assets of the Plan to a

party in interest.

        136.   As a direct and proximate result of these prohibited transactions, the Plan

directly or indirectly paid millions of dollars per year in investment management and

other fees to parties in interest in transactions that were prohibited under ERISA, thereby

suffering millions of dollars in losses.

        137.   Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), Defendants are liable to

restore all losses suffered by the Plan as a result of the prohibited transactions and

disgorge all revenues received and/or earned by BB&T and Sterling Capital from the fees

paid by the Plan to BB&T and Sterling Capital. Plaintiffs also seek appropriate equitable

relief on behalf of the Plan pursuant to 29 U.S.C. § 1132(a)(3).

                                      COUNT III
                      Prohibited Transactions with a Fiduciary
                                  29 U.S.C. § 1106(b)
          Asserted on Behalf of the Indirect Compensation Class, the BB&T/Sterling
        Capital Funds Class, the Large Cap Value Class, and the Deposit Account Class

        138.   BB&T and its wholly owned subsidiary Sterling Capital are fiduciaries of

the Plan as the term is used in 29 U.S.C. §§ 1106(b)(1).

        139.   BB&T and Sterling Capital dealt with the assets of the Plan in their own

interest and for their own account when they caused the Plan to use BB&T/Sterling

Capital Funds as investment options and failed to remove those investments from the

Plan.

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       140.   BB&T and Sterling Capital received consideration for their own personal

account from parties dealing with the Plan in connection with transactions involving the

assets of the Plan. This includes BB&T’s receipt of revenue sharing payments and/or

indirect compensation from various investment managers in the Plan; the profits received

by BB&T and Sterling Capital from the Plan’s assets held in BB&T/Sterling Capital

mutual funds; and the profits or fees BB&T earned managing the Deposit Account.

       141.   As a direct and proximate result of these prohibited transactions, the Plan

directly or indirectly paid millions of dollars per year in investment management and

other fees to fiduciaries in transactions that were prohibited under ERISA, thereby

suffering millions of dollars in losses.

       142.   Pursuant to 29 U.S.C. §§ 1109(a) and 1132(a)(2), BB&T and Sterling

Capital are liable to restore all losses suffered by the Plan as a result of the prohibited

transactions and disgorge all revenues received and/or earned by BB&T and Sterling

Capital resulting directly or indirectly from the above-mentioned prohibited transactions.

Plaintiffs also seek appropriate equitable relief on behalf of the Plan pursuant to 29

U.S.C. § 1132(a)(3).

                                      COUNT IV
                              Anti-Inurement Provision
                                   29 U.S.C. § 1103
  Asserted on Behalf of the Indirect Compensation Class, the BB&T/Sterling Capital
       Funds Class, the Large Cap Value Class, and the Deposit Account Class

       143.   BB&T and Sterling Capital are both employers of participants of the Plan

as defined by 29 U.S.C. § 1002(5).

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       144.    29 U.S.C. § 1103(c)(1) provides that the assets of an employee benefit plan

“shall never inure to the benefit of any employer and shall be held for the exclusive

purposes of providing benefits to participants in the plan and their beneficiaries.”

       145.    The purpose of this provision “is to apply the law of trusts to discourage

abuses such as self-dealing, imprudent investment, and misappropriation of plan assets,

by employers and others.” Raymond B. Yates, M.D., P.C. Profit Sharing Plan v. Hendon,

541 U.S. 1, 23 (2004).

       146.    As a result of BB&T and Sterling Capital’s self-dealing and imprudent

investments, Plan assets inured to the benefit of BB&T and Sterling Capital as a result of

(1) BB&T receiving revenue sharing and/or indirect compensation payments grossly

exceeding its cost of providing services to the Plan; (2) the Plan’s investments in the

BB&T/Sterling Capital Funds and the subsequent assessment of investment management

expenses against the accounts of Plan participants; and (3) the receipt of administrative

fees resulting from the Plan’s investment in the Deposit Account.

       147.    Pursuant to 29 U.S.C. § 1132(a)(3), BB&T and Sterling Capital should be

required to disgorge all Plan assets that have inured to them as a result of their self-

dealing.   These assets should be restored to the Plan under principles of equitable

restitution.   Plaintiffs seek any other equitable relief the Court deems appropriate

including appointment of an independent fiduciary or fiduciaries to run the Plan; removal

of the Sterling Capital Funds and the Deposit Account from the Plan’s core investment

options; transfer of Plan assets in the Sterling Capital Funds and the Deposit Account to


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prudent alternative investments; a requirement that the Plan engage in a competitive

bidding process for the provision of recordkeeping and trustee services; removal of Plan

fiduciaries deemed to have breached their fiduciary duties and/or engaged in prohibited

transactions, and imposition of a constructive trust as necessary for administration of

some or all of the aforementioned remedies.

                               PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs Bowers, Sims, Erik Gavidia, Stephanie Gavidia,

Holstein, Stauffer, and Greaner individually and as representatives of the classes defined

herein, and on behalf of the BB&T Corporation 401(k) Savings Plan, pray for relief as

follows:

      A.     A determination that this action may proceed as a class action under
             Rule 23(b)(1), or in the alternative, Rule 23(b)(3) of the Federal Rules
             of Civil Procedure;

      B.     Designation of Plaintiffs as Class Representatives and designation of
             Plaintiffs’ counsel as Class Counsel;

      C.     A declaration that Defendants have breached their fiduciary duties in the
             manner described in the Complaint;

      D.     A declaration that Defendants violated 29 U.S.C. § 1106 by allowing
             the Plan to engage in prohibited transactions;

      E.     A declaration that Plan assets inured to the benefit of BB&T and
             Sterling Capital in violation of 29 U.S.C. § 1103;

      F.     An order compelling Defendants to personally make good to the Plan all
             losses that the Plan incurred as a result of the breaches of fiduciary
             duties described above and to restore the Plan to the position it would
             have been in but for these breaches;


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      G.    An order requiring Defendants to disgorge all revenues received from,
            or in respect of, the Plan;

      H.    An order granting equitable restitution and other appropriate equitable
            monetary relief against Defendants;

      I.    An order enjoining Defendants collectively from any further violations
            of their ERISA fiduciary responsibilities, obligations, and duties;

      J.    Other equitable relief to redress Defendants’ illegal practices and to
            enforce the provisions of ERISA as may be appropriate, including
            appointment of an independent fiduciary or fiduciaries to run the Plan;
            removal of the Sterling Capital Funds, the Money Market Fund, and the
            Deposit Account within the Plan’s core investment options; transfer of
            Plan assets in the Sterling Capital Funds, the Deposit Account, and the
            Money Market Fund to prudent alternative investments; a requirement
            that the Plan engage in a competitive bidding process for the provision
            of recordkeeping and trustee services; and removal of Plan fiduciaries
            deemed to have breached their fiduciary duties and/or engaged in
            prohibited transactions;

      K.    An award of pre-judgment interest;

      L.    An award of attorneys’ fees and costs pursuant to 29 U.S.C. § 1132(g)
            and/or the common fund doctrine;

      M.    An award of such other and further relief as the Court deems equitable
            and just.



September 4, 2015                      Respectfully Submitted,

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                               And

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